Case 3:18-cv-01254-RDM Document 34 Filed 10/27/20 Page 1 of1

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

NAIMA URRUTIA,

Plaintiff, :

V. : 3:18-CV-01254
: (JUDGE MARIANI)

WAL-MART STORES, INC.,
WAL-MART STORES EAST, LP,

Defendants.

ORDER

1.
V
AND NOW THIS’ / Aly OF OCTOBER, 2020, for the reasons set forth in this
Court's accompanying memorandum opinion, IT IS HEREBY ORDERED THAT
Defendant's Motion for Summary Judgment (Doc. 23) is DENIED.

  

Yd MW

Robert B--Mafiani
United States District Judge
